                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                     (Alexandria Division)

JANE DOE,

       Plaintiff,

V.                                                      Case No.: l:21-cv-1150


Fairfax Police Officer #1,et al..

       Defendants.


           MOTION FOR EXPEDITED DISCOVERY and WAIVER OF HEARING


       Plaintiff Jane Doe has moved for leave to serve expedited discovery on the Fairfax

County Police Department and if necessary the Federal Bureau of Investigation in order to

determine the correct names and last known addresses of defendants Fairfax Police Officers ##1

and 2, who must be served by their true names in order to be brought into this case. In support of

this motion, Jane Doe respectfully represents as follows:

       In this lawsuit, Jane Doe seeks damages resulting from being trafficked to and in the

United States for purposes of prostitution, mostly in Fairfax County. On information and belief,

defendants Fairfax Police Officers ##1 and 2 were officers with the Fairfax County Police

Department who were customers of Jane Doe and also provided security to the trafficking ring.

The Fairfax County Police Department, which employed the defendants, can presumably provide

their correct names as well as last known addresses. On information and belief, the FBI's Public

Corruption Division investigated the defendants' involvement in the sex trafficking enterprise at

issue, and is also aware ofthe identities ofthese defendants. Counsel attempted to obtain the

true identities ofFairfax Police Officers ##1 and 2from the Police Department and then from the

FBI, but to no avail.
       In order to ensure that Fairfax Police Officers ##1 and 2 be brought before the Court and

have a full opportunity to defend, it is necessary for them to be identified and properly served as

promptly as possible. Thus this motion. Jane Doe 1 proposes serve the Police Department alone

with its discovery request, and to serve the F.B.I, only ifthis information is not forthcoming

from the Police Department.

       The court has "wide latitude" in controlling discovery. Physicians Interactive v. Lathian

Sys., Inc.^ 2003 WL 23018270, at *4(E.D. Va. Dec. 5,2003)(quoting Rowland v. Am. Gen. Fin.,

Inc., 340 F.3d 187,195(4th Cir. 2003)), and may permit expedited discovery in the interests of

justice. Cell Film Holdings, LLC v. Does,2016 WL 7494319, at *5(E.D. Va. Dec. 30,2016)

(granting discovery to ascertain defendant John Doe's identity). There is no cognizable

prejudice to any person or entity in permitting the identification ofthe officers at issue.



                                Conclusion and Waiver of Hearing


       For these reasons, Jane Doe's motion for expedited discovery of the identity and

addresses of Fairfax Police Officers ##1 and 2 should be granted. Jane Doe waives a hearing on

this motion and requests its adjudication on the papers. This motion and a copy of the complaint

are being served electronically on the assistant county attorney who routinely represents the

county police.

                                              Respectfully submitted,

                                              JANE DOE,

                                              By counsel




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Dated: October 12,2021

Counsel for Plaintiff:




//s// Victor M. Glasberg
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JaneDoe\Pleadings\MExpediteDiscoveryWaiveHearing




                                                   Certificate of Service


          I, Victor M.Glasberg, hereby certify that on this 12^ day of October 2021,1
electronically filed the foregoing Motion for Expedited Discoveiy and Waiver of Hearing with
the clerk ofthe court, and also emailed a copy, plus a copy of the complaint,to:

                                        Kimberly Baucom,Esq.
                                        Senior Assistant County Attorney
                                        kimberlv.pace.baucom@fairfaxcountv.gov


                                                                            //s// Victor M. Glasberg
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